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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Hearing Date: December 12, 2024 at 1:00 p.m. (ET)
                                                              Obj. Deadline: October 3, 2024 at 4:00 p.m. (ET)



                              NOTICE OF INTERIM FEE APPLICATION

         TO:         (a) the Office of the United States Trustee; (b) counsel to the Official Committee
                     of Unsecured Creditors; (c) the Fee Examiner and (d) all other parties required to
                     be given notice pursuant to the Interim Compensation Order.

               On the date hereof, Alvarez & Marsal North America, LLC (“A&M”) filed the
Seventh Interim Fee Application of Alvarez & Marsal North America, LLC (the “Application”) 2
with the United States Bankruptcy Court for the District of Delaware.

              Objections (the “Objections”), if any, to the Application must be made in
accordance with the Order Establishing Procedures for Interim Compensation and
Reimbursement of Expenses of Professionals [D.I. 435] (the “Interim Compensation Order”).
Objections must be served on the following parties so as to be received no later than 4:00 p.m.
(ET) on October 3, 2024 (the “Objection Deadline”):

                     (i) counsel to the Debtors, (a) Sullivan & Cromwell LLP, 125 Broad Street, New
                     York, New York 10004, Attn: Christian P. Jensen (jensenc@sullcrom.com) and
                     (b) Landis Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington, DE
                     19801, Attn: Adam G. Landis (landis@lrclaw.com) and Kimberly A. Brown
                     (brown@lrclaw.com); (ii) counsel to the Committee, (a) Paul Hastings LLP, 200
                     Park Avenue, New York, New York 10166, Attn: Kris Hansen
                     (krishansen@paulhastings.com), Erez Gilad (erezgilad@paulhastings.com) and
                     Gabriel Sasson (gabesasson@paulhastings.com) and (b) Young Conaway Stargatt
                     & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware

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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda
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    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
    Application.



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                     19801, Attn: Matthew B. Lunn (mlunn@ycst.com) and Robert F. Poppiti, Jr.
                     (rpoppiti@ycst.com); (iii) the U.S. Trustee, 844 King Street, Suite 2207,
                     Wilmington, Delaware 19801, Attn: Linda Richenderfer
                     (linda.richenderfer@usdoj.gov); (iv) the Fee Examiner and her counsel, Godfrey
                     & Kahn, S.C., One East Main Street, Suite 500, Madison, WI 53703, Attn:
                     Katherine Stadler and Mark Hancock (FTXFeeExaminer@gklaw.com) ; and (v)
                     Alvarez & Marsal North America LLC, 2100 Ross Avenue 21st Floor, Dallas, TX
                     75201, Attn: Edgar W. Mosley II (emosley@alvarezandmarsal.com).

            A HEARING ON THE INTERIM FEE APPLICATION WILL BE HELD ON
DECEMBER 12, 2024 AT 1:00 P.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY,
UNITED STATES BANKRUPTCY COURT JUDGE, IN THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET
STREET, 5TH FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.




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Dated: September 13, 2024              LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                       /s/ Matthew R. Pierce
                                       Adam G. Landis (No. 3407)
                                       Kimberly A. Brown (No. 5138)
                                       Matthew R. Pierce (No. 5946)
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                                       -and-

                                       SULLIVAN & CROMWELL LLP
                                       Andrew G. Dietderich (admitted pro hac vice)
                                       James L. Bromley (admitted pro hac vice)
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                                       Counsel for the Debtors and Debtors-in-Possession




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